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             10
                        Attorneys for Plaintiff
             11         Minka Lighting, Inc.
             12                               UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
             13                                    WESTERN DIVISION
             14        MINKA LIGHTING, INC.,                       C.A. No. 5:13-cv-02370-RGK-MRW
                       Plaintiff,
             15
                       v.                                PLAINTIFF’S MOTION IN LIMINE
             16                                          NO. 7 FOR AN ORDER EXCLUDING
                       BATH KITCHEN DÉCOR, LLC d/b/a     TESTIMONY OR EVIDENCE
             17        EAGLES LIGHTING LLC, LARRY        REGARDING DEFENDANTS
                       KRAZYMAN, Individually, and DAVID KRAYZMAN'S AND TROPPER'S
             18        TROPPER, Individually,            INDIVIDUAL LIABILITY BEFORE
                       Defendants.                       THEY FORMED DEFENDANT BKD
             19                                          LLC; MEMORANDUM OF POINTS
                                                         AND AUTHORITIES IN SUPPORT
             20                                          THEREOF
             21                                                    Pretrial Conference: February 23, 2015
                                                                   Jury Trial Date: March 3, 2015
             22
                                                                   Hon. R. Gary Klausner
             23
                                                                   [filed concurrently with [Proposed]
             24                                                    Order]
             25        TO DEFENDANTS AND THEIR ATTORNEY OF RECORD:
             26                PLEASE TAKE NOTICE that on March 3, 2015 at 9:00 a.m., before the
             27        Honorable R. Gary Klausner in Courtroom 850 of the above-entitled Court located at
             28        255 East Temple Street, Los Angeles, California 90012, Plaintiff Minka Lighting, Inc.
Baker & McKenzie LLP   361927-v1\HOUDMS                        1
 Houston, TX 77002
                                                                                     Case No 5:13-cv-02370-RGK-MRW
                                                                                PLAINTIFF’S MOTION IN LIMINE NO. 7
           Case 5:13-cv-02370-RGK-MRW Document 62 Filed 01/16/15 Page 2 of 5 Page ID #:1528


               1
                       (“Plaintiff” or “Minka") will and does hereby move this Court, for an order excluding
               2
                       any and all testimony or evidence regarding Defendants Krayzman's and Tropper's
               3
                       individual liability before they formed Defendant BKD LLC. Such testimony and
               4
                       evidence are inadmissible under Fed. R. Evid. 403, and would prejudice Minka's
               5
                       presentation of the liability facts and request for damages, as well as confuse the trier
               6
                       of fact as to the relevance of such testimony and evidence. Plaintiff seeks to limine
               7
                       out any of the above arguments as their sole purpose is to confuse or prejudice the jury
               8
                       from fairly determining Defendants' individual liability and potential damages. This
               9
                       Motion is based on this Notice, the attached Memorandum of Points and Authorities,
             10
                       and all other evidence and argument that the Court may consider in connection with
             11
                       this Motion.
             12
                             Pursuant to Local Rule 7-3, this Motion is made following a telephonic meeting
             13
                       between counsel on January 16, 2015 regarding this motion in limine. Counsel were
             14
                       unable to resolve this evidentiary issue.
             15
             16        Dated: January 16, 2015                     BAKER & McKENZIE LLP

             17                                                    By: /s/ Myall S. Hawkins
             18                                                       Myall S. Hawkins
                                                                      Attorneys for Plaintiff
             19                                                       Minka Lighting, Inc.

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Baker & McKenzie LLP
                                                                                           Case No 5:13-cv-02370-RGK-MRW
       Houston                                                                        PLAINTIFF’S MOTION IN LIMINE NO. 7
           Case 5:13-cv-02370-RGK-MRW Document 62 Filed 01/16/15 Page 3 of 5 Page ID #:1529

               1
               2                      MEMORANDUM OF POINTS AND AUTHORITIES
               3       I.     LEGAL ARGUMENT AND AUTHORITIES
               4              Under Federal Rule of Civil Evidence 403, the "court may exclude evidence if
               5       its probative value is substantially outweighed by a danger of one or more of the
               6       following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
               7       wasting time, or needlessly presenting cumulative evidence."
               8              During the course of this case, though their pleadings and written and oral
               9       communications, Defendants have attempted to shift their individual liability to
             10        Defendant Bath Kitchen Decor, LLC ("BKD") before Defendants Krayzman and
             11        Tropper created Defendant BKD almost a year later. By operation of law, Defendants
             12        Krayzman and Tropper are jointly and severally liable for each other's acts, as well as
             13        their partnership's acts before Defendant BKD was incorporated.1
             14               Any argument or introduction of testimony or evidence that Defendants
             15        Krayzman and Tropper cannot be individually liable prior to August 2010 would be
             16        contrary to California and Ninth Circuit law. See Cal. Corp. Code § 16306a) (all
             17        partners jointly and severally liable for all obligations of partnership unless otherwise
             18        agreed by claimant or provided by law); N.Y. Partnership Law § 26(a) (all partners
             19        jointly and severally liable for everything chargeable to partnership); American States
             20        Ins. Co. v. Borbor, 826 F.2d 888, 892 (9th Cir. 1987); Sperske v. Rosenberg, 2012
             21        U.S. Dist. LEXIS 174106, 3 (C.D. Cal. Dec. 6, 2012) citing Cal. Corp. Code § 16202
             22        and Blackmon v. Hale, 1 Cal. 3d 548, 557 (Cal. 1970); Fonovisa, Inc. v. Cherry
             23        Auction, Inc., 76 F.3d 259, 262 (9th Cir. 1996) (vicarious copyright liability described
             24        as variation of doctrine of respondeat superior – a form of strict liability premised on
             25        agency).
             26               Accordingly, Defendants Krayzman and Tropper should be precluded from
             27        referring to, arguing, or introducing any argument or evidence that Defendants
             28
                       1
                        Defendants Krayzman and Tropper are also vicariously liable individually for Defendant BKD
                       LLCs acts, but this Motion is limited to their acts3 prior to incorporating the BKD LLC.
Baker & McKenzie LLP
                                                                                              Case No 5:13-cv-02370-RGK-MRW
 Houston, TX 77002                                                                       PLAINTIFF’S MOTION IN LIMINE NO. 7
           Case 5:13-cv-02370-RGK-MRW Document 62 Filed 01/16/15 Page 4 of 5 Page ID #:1530

               1
               2
                       Krayzman and Tropper cannot be individually liable prior to the formation of
               3
                       Defendant BKD LLC.
               4
                       II.   CONCLUSION
               5
                             For the reasons set forth above, Minka respectfully requests that the Court
               6
                       exclude any reference, argument of, or testimony or evidence that Defendants
               7
                       Krayzman and Tropper cannot be individually liable before they formed Defendant
               8
                       BKD LLC.
               9
                       Dated: January 16, 2015                  BAKER & McKENZIE LLP
             10
             11                                                 By: /s/ Myall S. Hawkins
                                                                   Myall S. Hawkins
             12                                                    Attorneys for Plaintiff
                                                                   Minka Lighting, Inc.
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Baker & McKenzie LLP
                                                                                        Case No 5:13-cv-02370-RGK-MRW
       Houston                                                                     PLAINTIFF’S MOTION IN LIMINE NO. 7
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               1
               2       U.S. DISTRICT COURT; CENTRAL DISTRICT OF CALIFORNIA
               3       C.A. NO. 5:13-CV-02370-RGK-MRW

               4                                  CERTIFICATE OF SERVICE

               5             I am a citizen of the United States and employed in Harris County, Texas. I am

               6       over the age of eighteen years and not a party to the within-entitled action. I am

               7       employed in the office of a member of the bar of this Court at whose direction the

               8       service was made. My business address is 700 Louisiana, Suite 3000, Houston, Texas

               9       77002.

             10              On January 16, 2015, a copy of the following document:

             11         PLAINTIFF’S MOTION IN LIMINE NO. 7 FOR AN ORDER EXCLUDING
                       TESTIMONY OR EVIDENCE REGARDING DEFENDANTS KRAYZMAN'S
             12          AND TROPPER'S INDIVIDUAL LIABILITY BEFORE THEY FORMED
                             DEFENDANT BKD LLC; MEMORANDUM OF POINTS AND
             13                      AUTHORITIES IN SUPPORT THEREOF

             14        were served on the Defendants' attorneys of record in this action by electronic filing as

             15        follows:

             16              YITZCHAK ZELMAN (Admitted Pro Hac Vice)
                             New York Bar No. (YZ5857)
             17              Law Office of Alan J. Sasson, P.C.
                             yzelman@sassonlaw.com
             18              1669 East 12th Street, 2nd Floor
                             Brooklyn, New York 11229
             19
                             GARY BARSEGIAN (Local counsel)
             20              California Bar No. (213861)
                             gbarsegian@garyesq.com
             21              Law Offices of Gary Barsegian
                             2001 West Magnolia Boulevard, Suite A
             22              Burbank, CA 91506

             23              I declare under penalty of perjury that the above is true and correct and that this

             24        Declaration is executed on January 16, 2015 in Houston, Texas.

             25
             26                                               /s/ Myall S. Hawkins
                                                                 Myall S. Hawkins
             27
             28
                                                                 5
Baker & McKenzie LLP
                                                                                          Case No 5:13-cv-02370-RGK-MRW
       Houston                                                                       PLAINTIFF’S MOTION IN LIMINE NO. 7
